Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 1 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 2 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 3 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 4 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 5 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 6 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 7 of 8
Case 1:13-cr-00004-CJW-MAR   Document 26   Filed 02/13/13   Page 8 of 8
